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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


BRANDON EDICK                                        X
                               Plaintiff             X
                                                     X          CIVIL ACTION NO:
V                                                    X
                                                     X
UNITED STATES OF AMERICA                             X
                               Defendant             X
                                                     X
                                                     X          January 23,2023

                                           COMPLAINT
FIRST    COUNT:        Bodily iniury claim
         l.    The   Plaintifl Brandon Edick, is an individual who resides in Fort Plain, New

York, and is a citizen of the State of the State of New York.

         2.    The Defendant is the United States of America.

         3.    This action is brought under the provisions of the FederalTort Claims Act,28

U.S.C. 52671et. seq., so that jurisdiction is based on 28 U.S.C. $1346(bXl).

         4.    On August 16,2021, at approximately 5:31 p.m., the      Plaintifl Brandon Edick,

was operating his 2006 Ford Fusion in an eastbound direction on the Herkimer Interchange in

Herkimer, New York.

         5.    At that date and time, Mr. Mark Hugh Arscott, a citizen of the State of

Connecticut who resides in the Town of Middletown, was operating a Connecticut National

Army Guard vehicle ("Vehicle") in a northbound direction on Main Street in Herkimer, New

York.

         6.    At that date and time, Mr. Arscott was an employee, agent, and/or servant of

the Defendant United States of America and was operating the Vehicle within the scope         of

his employment and/or agenay.

         7.    At that date and time, the Hermiker Interchange and Main Street in Hermiker,

New York were open and public roadways/highways.

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        8.        At that date and time, as Mr. Arscott made a right turn onto the Herkimer

Interchange, his Vehicle struck the Ford Fusion being operated by the Plaintiff.

        9.        This collision, and the resulting injuries, losses, and darnages sustained by the

Plaintiff, was/were caused by the negligence in one or more of the following ways:

             a.   he operated the Vehicle at a speed greater than was reasonable and prudent

                  under the conditions and having regard to the actual potential hazards then

                  existing;

             b.   he failed to keep the Vehicle under proper and reasonable control;

             c.   he failed to keep a proper and reasonable lookout for the Plaintiff;

             d.   he failed to apply his brakes in time to avoid a collision, although by a proper

                  and reasonable exercise of his faculties, he could and should have done so.

        10.       As a result of the collision and the negligence of Mr. Arscott, the Plaintiff

sustained the following injuries, some or all of which may be permanent:

             a.   Low back pain;

             b.   Lumbar strain;

             c.   Disc bulge;

             d.   Internal disc derangement syndrome.

        11.       As a result of these injuries, the Plaintiff has experienced and willexperience

in the future, pain and suffering.

        12.       As a result of these injuries, the Plaintiff has experienced and willexperience

in the future, mental and emotional injury.

        13.       As a result of these injuries, the Plaintiffls ability to pursue and enjoy life's

activities has been and will be reduced.

        14.       As a result of these injuries, the Plaintiff has incurred, and may incur in the

future, medical expenses.



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         15.   As a further result of these injuries, the Plaintiff has lost time from work, has

lost earnings, and his earning capacity has been and   will   be diminished.

         16.   On January 31,2022, the    Plaintifi acting through his authorized

representative, duly gave notice of the claim arising out of the aforesaid collision and of the

injuries Plaintiff sustained as a result thereof, to the Defendant United States of America, by

serving Form 95 upon the United States of America, with a Demand totaling $5 10,000,       of

which $500,000 pertains to this personal injury claim.

         17.   Thereafter, the Plaintiff; acting through his authorized representative, has

continued to provide the Defendant United States of America with additional claim materials.

         18.   To date, Defendant United States of America has not made finaldisposition of

the claim, and suit is brought pursuant to 28 U.S.C . 52675.




SECOND COUNT: Pronerfy Damase Claim

         l.    The Plaintiff; Brandon Edick, is an individual who resides in Fort Plain, New

York, and is a citizen of the State of New York.

         2.    The Defendant is the United States of America.

         3.    This action is brought under the provisions of the FederalTort Claims Act,28

U.S.C. 52671et. seq., so that jurisdiction is based on 28 U.S.C. $1346(bXl).

         4.    On August 16,2021, at approximately 5:31 p.m., the Plaintiff, Brandon Edick,

was operating his 2006 Ford Fusion in an eastbound direction on the Herkimer Interchange in

Herkimer, New York.

         5.    At that date and time, Mr. Mark Hugh Arscott, a citizen of the State of

Connecticut who resides in the Town of Middletown, was operating a Connecticut National

Army Guard vehicle ("Vehicle") in    a northbound   direction on Main Street in Herkimer, New

York.



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        6.       At that date and time, Mr. Arscott was an employee, agent, and/or servant of

the Defendant United States of America and was operating the Vehicle within the scope of

his employment and/or agency.

        7.       At that date and time, the Hermiker Interchange and Main Street in Henniker,

New York were open and public roadways/highways.

        8.       At that date and time,   as   Mr. Arscott made a right turn onto the Herkimer

Interchange, his Vehicle struck the Ford Fusion being operated by the Plaintiff.

        9.       This collision, and the resulting injuries, losses, and damages sustained by the

Plaintiff, was/were caused by the negligence in one or more of the following ways:

        a.       he operated the Vehicle at a speed greater than was reasonable and prudent

under the conditions and having regard to the actual potential hazards then existing;

        b.       he failed to keep the Vehicle under proper and reasonable control;

        c.       he failed to keep a proper and reasonable lookout for the Plaintiff;

        d.       he failed to apply his brakes in time to avoid a collision, although by a proper

and reasonable exercise of his faculties, he could and should have done so.

        10.      As a result of the collision and the negligence of Mr. Arscott, the Plaintiff   s


automobile, which had a value in excess of $2,000, was destroyed, to the Plaintiff      s


detriment.

        I   l.   As a further result of the collision and the negligence of Mr. Arscott, the

Plaintiff suffered Loss of Use of his automobile, and the Plaintiff was forced to incur charges

related to obtaining a rental vehicle.

        12.      As a further result of the negligence of Mr. Arscott, the Plaintiff suffered out-

of-pocket costs.

        13.      On January 31,2022, the Plaintiff; acting through his authorized

representative, duly gave notice of the claim arising out of the aforesaid collision and of the



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injuries Plaintiff sustained as a result thereof, to the Defendant United States of America, by

serving Form 95 upon the United States of America, with a Demand totaling $510,000,                        of

which $10,000 pertains to this property damage claim.

        14.     Thereafter, the Plaintiff, acting through his authorized representative, has

continued to provide the Defendant United States of America with additional claim materials.

        15.     To date, the Defendant United States of America has not made final

disposition of the claim, and suit is brought pursuant to 28 U.S.C.52675.




       WHEREFORE, the Plaintiff:

        I   .   Demands judgment against the Defendant in the sum of $5 10,000, plus costs

and fees;

       2.       Demands such other relief as the Court deems just and proper.




                                                      THE PLAINTIFF,



                                               BY:
                                                      Etan Hirsch, Esq.
                                                      Hirsch Andrade, LLP
                                                      I 000 Lafayette Boulevard
                                                      Bridgeport, CT 06604
                                                      Federal Bar No. - ct28189
                                                      Tele: (203) 331-8888
                                                      Fax: (203) 333-4650
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